Case 5:16-cv-10444-JEL-EAS ECF No. 2248-3, PageID.73930 Filed 10/31/22 Page 1 of 6




                    EXHIBIT B
Case 5:16-cv-10444-JEL-EAS ECF No. 2248-3, PageID.73931 Filed 10/31/22 Page 2 of 6
Case 5:16-cv-10444-JEL-EAS ECF No. 2248-3, PageID.73932 Filed 10/31/22 Page 3 of 6
Case 5:16-cv-10444-JEL-EAS ECF No. 2248-3, PageID.73933 Filed 10/31/22 Page 4 of 6
Case 5:16-cv-10444-JEL-EAS ECF No. 2248-3, PageID.73934 Filed 10/31/22 Page 5 of 6
Case 5:16-cv-10444-JEL-EAS ECF No. 2248-3, PageID.73935 Filed 10/31/22 Page 6 of 6
